Case 4:23-cr- 00218 Document 9-4

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CLOSED,SEALED

U.S. District Court
Eastern District of Kentucky (Lexington)
CRIMINAL DOCKET FOR CASE #: 5:23-mj-05283-MAS~1 *SEALED*
internal Use Only

Case title: USA v. SEALED

Other court case number. 4:23-cr-218 SDTX

Date Filed: 08/07/2023

Date Terminated: 08/08/2023

Assigned to: Magistrate Judge
Matthew A. Stinnett

Defendant (1)

Dhirenkumar Vishnubhai Patel
TERMINATED: 08/08/2023

Pending Counts

None

Highest Offense Level
(Opening)

None

Lerminated Counts

None

represented by

Gerry L. Harris

201 W. Short Street

Suite 215

Lexington, KY 40507
859-233-4110

Fax: 859-233-0117

Email: gihla ice@aolco
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Randy Martin O'Neal

Jimmie Dale Williams

P.O. Box 266

Richmond, KY 40476

859-623-2000

Fax: 859-624-5297

Email: randy@jimmydalewilliams.net
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

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Highest Offense Level

(Terminated)

None

Complaints

18:1349 CONSPIRACY TO

COMMIT MAIL FRAUD;
18:1341&2 MAIL FRAUD;
18:1956(h) CONSPIRACY TO

COMMIT MONEY
LAUNDERING
Plaintiff
USA represented by Ron L. Walker Jr., AUSA
U.S. Attomey's Office, EDKY
260 W. Vine Street
Suite 300
Lexington, KY 40507-1612
859-685-4889
Fax: 859-233-2658
Email: Ron. Walker@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney
: Select Docket
Date Filed # all/ cleac Text
08/07/2023 |L | Rule 40/Rule 5(c) Documents as to Dhirenkumar Vishnubhai Patel (KM)
(Entered: 08/07/2023)
08/07/2023 Arrest of Dhirenkumar Vishnubhai Patel (KM) (Entered: 08/07/2023)
08/07/2023 Conflict Check run. (KM) (Entered: 08/07/2023)
08/07/2023 CJA Case Assignment by Clerk: APPOINTED CJA Attomey Gerry Harris for
Dhirenkumar Vishnubhai Patel. cc: COR, USP, USM (KM) Modified text on
8/7/2023 (KM). (Entered: 08/07/2023)
08/07/2023 CLERK'S VIRTUAL NOTICE re: HEARING SCHEDULE as to Dhirenkumar

Vishnubhai Patel For a defendant in custody, defense counsel shall endeavor to
meet with their client prior to the hearing to discuss any and all issues to be
raised at the pending hearing. USMS shall, working with the relevant facility,
ensure that defense counsel has access to the defendant at reasonable times and
for reasonable periods. If this is not possible, a party may file a motion with the
Court seeking Court guidance, if needed. INITIAL APPEARANCE ~— Rule 40
set for 8/8/2023 at 03:00 PM in LEXINGTON before Magistrate Judge

Matthew A. Stinnett.(KM) cc: COR, USM, USP, D (Entered: 08/07/2023)

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MINUTE ENTRY for INITIAL APPEARANCE IN RULE 5(c)(3)
Proceedings as to Dhirenkumar Vishnubhai Patel held on 8/8/23 before
Magistrate Judge Matthew A. Stinnett: Randy O'Neal appeared as RETAINED
counsel of record. Parties appeared for initial appearance/removal hearing on
an indictment warrant filed in Case No.4:23—cr—218, United States District
Court, Southem District of Texas, pursuant to Rule 5.1. For the purpose of

efficiency, the Court held this proceeding as to co-defendant, Hardik Jayantilal_|

Patel, as well. Gerry Harris was asked to appear as standby counsel, but his
services were not needed. Defendant does not contest that he is the individual
in the warrant from the Southem District of Texas. United States requested
detention of the Defendant pursuant to 18 U.S.C. § 3142(f)(2)(A). Defendant
conceded that the United States presented preponderant evidence to establish a
basis to make the motion under 3142(f) (2)(A). Defendant reserved his right to
a detention hearing in the Southern District of Texas. After hearing statements
of counsel, and being otherwise sufficiently advised, the Court HEREBY
ORDERS AS FOLLOWS: 1. Defendant shall remain in the custody of the
United States Marshals Service pending prompt transfer to theSouthern District
of Texas. (Tape #KYED-LEX _5—23-mj-5282—MAS and
5—23-mj-5283-MAS_20230808_ 150549.) Signed by Magistrate Judge
Matthew A. Stinnett. (JLM)cc: COR,USM,USP,SDTX (Entered: 08/09/2023)

08/08/2023

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WAIVER of Rule 5(c)(3) Hearings by Dhirenkumar Vishnubhai Patel (JLM)
(Entered: 08/09/2023)

08/08/2023

COMMITMENT TO ANOTHER DISTRICT as to Dhirenkumar Vishnubhai
Patel. Defendant committed to District of Southern District of Texas. Signed by
Magistrate Judge Matthew A. Stinnett on 8/8/23. (TLM)cc: COR,USM,USP
(Entered: 08/09/2023)

08/09/2023

Notice FROM Kentucky Eastern TO Souther District of Texas (Houston) of a
Rule 5, Rule 32, or Rule 40 Appearance as to Dhirenkumar Vishnubhai Patel.
Your case number is: 4:23-cr—218, The clerk will transmit ALL applicable
documents via email.

Ifyou wish to designate a different email address for future transfers, send
your request to the national list host at
InterDistrictTransfer_TXND@txnd.uscourts.gov. cc: COR, USP, Finance

(JLM) (Entered: 08/09/2023)

